        Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 1 of 23



 1 LUCIAN J. GRECO, JR., ESQ.
   Nevada State Bar No. 10600
 2 JARED G. CHRISTENSEN, ESQ.
   Nevada State Bar No. 11538
 3 BREMER WHYTE BROWN & O’MEARA LLP
   1160 N. TOWN CENTER DRIVE
 4 SUITE 250
   LAS VEGAS, NV 89144
 5 TELEPHONE: (702) 258-6665
   FACSIMILE: (702) 258-6662
 6 lgreco@bremerwhyte.com
   jchristensen@bremerwhyte.com
 7
   Attorneys for Defendants,
 8 MARCUS BROWN, SOUTHERN
   REFRIGERATED TRANSPORT INC. AND IQS
 9 INSURANCE RISK RETENTION GROUP INC.
10                               UNITED STATES DISTRICT COURT
11                                     DISTRICT OF NEVADA
12
13 CANDYCE BOWLING,                               )   Case No.
                                                  )
14                      Plaintiff’s,              )   DEFENDANTS’ EMERGENCY
                                                  )   MOTION TO COMPEL
15            vs.                                 )   PRODUCTION OF DOCUMENTS
                                                  )   RESPONSIVE TO SUBPOENA
16 MARCUS BROWN, SOUTHERN                         )   OR, ALTERNATIVELY, MOTION
   REFRIGERATED TRANSPORT, INC.                   )   TO TRANSFER ENFORCEMENT
17 AND IQS INSURANCE RISK                         )   OF SUBPOENA
   RETENTION GROUP, INC.,                         )
18                                                )
             Defendants.                          )
19                                                )
20            NOW INTO COURT, through undersigned counsel, come Defendants,
21 Marcus Brown, Southern Refrigerated Transport, Inc. (“SRT”) and IQS Insurance
22 Risk Retention Group, Inc., which, pursuant to Fed. R. Civ. P. 45(d)(2)(B)(i),
23 respectfully request that this Court compel third-party MedPort LA, LLC (“Medport”)
24 to produce documents responsive to the subpoena, which was issued by the United
25 States District Court for the Western District of Louisiana (the “Issuing Court”) on
26 January 19, 2021 and served on Medport on January 20, 2021.
27            Alternatively, under Fed. R. Civ. P. 45(f), Defendants request that this Court
28 transfer this motion to the Issuing Court for resolution. Defendants further request


     3354.714 4845-3598-6410.1
          Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 2 of 23



 1 emergency relief under LR 7-4. Discovery in the underlying case closes on June 30,
 2 2021 and trial is scheduled to begin on February 14, 2022. Therefore, there is
 3 insufficient time for this Court to resolve this motion in ordinary course.
 4            Defendants explain the grounds for the emergency motion in the accompanying
 5 memorandum, which is supported by the accompanying declaration and exhibits.
 6                               MEMORANDUM OF POINTS AND AUTHORITIES
 7
     I.       BACKGROUND
 8
 9            a.        The underlying lawsuit is a personal injury case filed by Plaintiff,
10 Candyce Bowling, against Defendants in the Issuing Court-titled Candyce Bowling vs.
11 Marcus Brown, Southern Refrigerated Transport, Inc. and IQS Insurance Risk
12 Retention Group, Inc., with a case number of 5:20-cv-00504.1 The case stems from
13 an alleged motor vehicle accident that occurred in Greenwood, Louisiana on April 9,
14 2019.2 Following the alleged accident, Plaintiff claimed injuries and sought treatment
15 with various medical providers.3
16            Medical and billing records obtained during discovery show that medical
17 treatment for each Plaintiff was funded or financed, at least in part, by third-party
18 litigation          funding       company         Medport        LA,       LLC.       Medport’s        website
19 (medport.com/howitworks) describes its business practices, including servicing and
20 funding:4
              (i)       How does servicing with Medport benefit my
21                      practice?
22                      The administration and collection (i.e. servicing) of personal
                        injury receivables is a whole different animal from private
23                      and government payer reimbursement. Payment can slip
                        through your fingers if you don’t stay on top of cases. We’re
24                      experts at this and have developed a process over the last 15
25            1
                        See Exhibit 1, Defendants’ Notice of Removal and Plaintiff’s Petition attached thereto as
26   Exhibit A.
              2
                        Id.
27            3
                        Id.
28            4
                        See Exhibit 2.
                                                             2

     3354.714 4845-3598-6410.1
        Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 3 of 23



 1                      years spanning case statusing, negotiations and collections to
                        maximize the collection of medical lien-backed receivables.
 2
 3            (ii)      How does funding with Medport benefit my practice?
 4                      Treating under- or un-insured personal injury victims on
                        a medical lien/LOP is difficult for your practice because
 5                      the receivables sit dormant for years before they can be
                        collected. Medport provides immediate cash flow
 6                      against those receivables under customized financial
                        structures that best fit your practice’s needs and goals. We
 7                      consider all lien/LOP-backed receivables regardless of
                        age; they can be brand new or several years old. This
 8                      means your practice can economically treat injured
                        patients who don’t have health insurance and gain
 9                      financial stability. Two birds with one stone; that’s how
                        we like to do things.
10
              (iii)     How much do you fund?
11
                        Funding structure is custom tailored to your business’
12
                        needs and objectives. Since structure varies by
13                      customer, we can’t get into too much detail here.
                        However, we can tell you that no account is too big or
14
                        too small. Give us a shout, we’re happy to discuss.
15
16            Medport’s website also describes partnerships with medical providers

17 throughout the country, though specific partners are not identified:
18       (iv)  What kind of providers does Medport work with?

19                      We’re proud to work with America’s highest quality
                        providers and best trained, board-certified physicians.
20                      Our financial partners include but are not limited to:
                        imaging centers, hospitals, chiropractors, physical
21                      therapists, orthopedic & neurosurgeons, ambulatory
                        surgery centers and pain management physicians.
22
     Based on its website, Medport apparently enters into written agreements with
23
     personal injury Plaintiff’s, their attorneys, or medical providers throughout the
24
     country and that nature of the funding or servicing provided by Medport may vary
25
     depending on the parties to the agreement and their specific needs and objectives.
26
     Therefore, the agreements and related documents are necessary to determine the
27
     nature of the services provided by Medport with respect to Plaintiff in the
28
                                                      3

     3354.714 4845-3598-6410.1
        Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 4 of 23



 1 underlying case.
 2            The Issuing Court issued a subpoena to Medport to produce documents
 3 responsive to the following requests:
 4 1.     A complete and certified copy of your entire file including, but not limited to,
   any and all documents, medical records, reports and all radiological films; hospital
 5
   records, reports and all radiological films; emergency room records, reports and all
 6 radiological films; fluoroscopy records and films; out-patient care records, reports
   and all radiological films; office notes; consultations, evaluations; assessments and
 7
   progress reports; charts; lab reports; x-ray reports; all radiological films; test results;
 8 therapy and treatment records; prescription records; including but not limited to all
   records regarding treatment rendered, correspondence from any other physician,
 9
   attorney, hospital, insurance company etc., and all other documents in your possession
10 and/or control pertaining to Candyce Bowling (DOB: 12/26/1973).
11 2.     A complete, certified copy of all documents in your possession pertaining to
12 Candyce Bowling (D/O/B: 12/26/1973) including but not limited to emails,
   documents, notes, memoranda, logs, diaries, etc. relative to plaintiff and/or plaintiff’s
13 counsel’s retention of your services for the instant litigation. Any and all photographs,
14 videos, drawings, statements, depositions, writings, investigations, and/or any other
   information and/or communications of whatever type and kind used in preparing any
15 reports, memoranda, or correspondence in relation to this matter. Any and all initial,
16 draft, revised, and final reports in relation to this matter. Any and all reference
   material, reports, treatises, articles, publications, written references, books and any and
17 all material of whatever type or kind you relied upon for your conclusions as to plaintiff
18 and the above-captioned litigation. Copies of any and all memoranda, email,
   correspondence and documentation related to any initial draft, revised or final report
19 pertaining to this matter. And any and all other information and/or documentation of
20 whatever type or kind which you may have in your possession regarding Candyce
   Bowling, regarding the incident made the basis of the instant matter.
21
22 3.     A complete, certified copy of your billing file regarding this litigation
   including, but not limited to, time recordings, accounts receivables, charges for
23 services and medical treatment rendered, payments received for services and medical
24 treatment rendered, claims submitted, claims paid, and explanation of benefits relative
   to Candyce Bowling.
25
   4.     All agreements between you and any medical treatment provider that has
26 provided treatment to Candyce Bowling.
27
   5.      All discounts received for services or treatments rendered to Candyce Bowling;
28
                                                4

     3354.714 4845-3598-6410.1
       Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 5 of 23



 1 6.     All agreements between you and Candyce Bowling or her representatives
    regarding the amount charged, billed and/or owed for services rendered to Candyce
 2
    Bowling.
 3
    7.    All negotiations and/or solicitations for the purchase of any accounts receivable
 4 related to Candyce Bowling.
 5
    8.    Any and all documents, contracts, agreements, or other information showing
 6 any contractual or business relationship between you and any of Candyce Bowling’s
    medical providers.
 7
 8 9.     Any and all documents, contracts, agreements, or other information showing
   any contractual or business relationship between you and Dr. Douglas Lurie.
 9
    10. Any and all documents, contracts, agreements, or other information showing
10
   any contractual or business relationship between you Orthopaedic Associates of New
11 Orleans, A Professional Medical Corporation.
12 11. Any and all documents, contracts, agreements or other information showing any
13 contractual or business relationship between you and Dr. Peter Liechty.
14 12. Any and all documents, contracts, agreements or other information showing any
15 contractual or business relationship between you and One Spine Institute, LLC.
16 13. Any and all documents, contracts, agreements, or other information showing
   any contractual or business relationship between you and Guardian Care, LLC.
17
18 14. Any and all documents, contracts, agreements, or other information showing
    any contractual or business relationship between you and any litigation funding
19 company.
20 15. Any and all documents, contracts, agreements, or other information showing
21 any contractual or business relationship between you and Sean Alfortish.
22 16. A listing of the total number of patients referred to you for treatment from the
23 Law Offices of Jack M. Bailey, Jr., Rebecca Cunard, Lionel Sutton and The Sutton
   Law Group for the past five (5) years. [No information is sought relative to the
24 identity of any patient. All identifying patient information may be redacted]
25 17. Any and all records reflecting total income of MedPort LA, LLC relating to
26 patients referred to you for treatment from the Law Offices of Jack M. Bailey, Jr.,
   Rebecca Cunard, Lionel Sutton and The Sutton Law Group for the past five (5) years.
27 [No information is sought relative to the identity of any patient. Identifying
28 patient information may be redacted]
                                              5

    3354.714 4845-3598-6410.1
        Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 6 of 23



 1
   18. Copies of any and all documents or correspondence by any known medium
 2 discussing the nature of any fee arrangements, including but not limited to, contingency,
 3 semi-contingency agreements, and letters of guarantee, between your office and the Law
   Offices of Jack M. Bailey, Jr., Rebecca Cunard, Lionel Sutton and The Sutton Law
 4 Group for the past (5) five years related to any Louisiana litigation. [No information is
 5 sought relative to the identity of any patient. Identifying patient information may
   be redacted]
 6
   19. Copies of any and all documents noting the number of your patients who are
 7
   represented by the Law Offices of Jack M. Bailey, Jr., Rebecca Cunard and Lionel Sutton
 8 [No information is sought relative to the identity of any patient. Identifying patient
   information may be redacted]
 9
10 20. Copies of and any all reports and/or opinions letters, including drafts, prepared by
   you for the Law Offices of Jack M. Bailey, Jr., Rebecca Cunard, Lionel Sutton and The
11 Sutton Law Group in any Louisiana litigation during the last five (5) years; [No
12 information is sought relative to the identity of any patient. Identifying patient
   information may be redacted]
13
14 21. Copies of any statements, forms, or documents in your possession and control
   evidencing income earned by you from referrals to or from the Law Offices of Jack M.
15 Bailey, Jr., Rebecca Cunard, Lionel Sutton and The Sutton Law Group in the past five
16 (5) years; [No information is sought relative to the identity of any patient.
   Identifying patient information may be redacted]
17
   22. Copies of any and all patient lists that you have in your possession listing potential
18 referrals from the Law Offices of Jack M. Bailey, Jr., Rebecca Cunard, Lionel Sutton
19 and The Sutton Law Group for any and all Louisiana lawsuits [No information is sought
   relative to the identity of any patient. Identifying patient information may be
20 redacted]
21
   23. Any and all letters, emails, correspondence, faxes and communications sent to and
22 received by any attorney pertaining to the instant litigation.5
23
24 ///
25
     ///
26
27
              5
                   See Exhibit 3, Notice of Records Deposition and Subpoena Duces Tecum issued to
28   Medport LA, LLC.
                                                      6

     3354.714 4845-3598-6410.1
        Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 7 of 23



 1            Defendants served Medport with the subpoena on January 20, 2021.6
 2 Around February 2, 2021, Medport served Oasis Reporting Services (“Oasis”)
 3 with various medical and billing records responsive to the subpoena.7 However,
 4 Medport failed to produce any of the contracts, agreements, or payment
 5 information in connection with Medport’s purchase of various accounts
 6 receivables from several medical providers who treated Plaintiff.
 7            The Issuing Court has already issued a ruling in the underlying case concerning
 8 a Motion to Quash filed in response to a nearly identical subpoena.8 Notably, the
 9 Issuing Court specifically determined that the same type of documents Medport is
10 refusing to produce are relevant to the underlying case and the Issuing Court ordered
11 that they be produced.9
12            Accordingly, on March 16, 2021, undersigned counsel sent correspondence
13 to counsel for MedPort advising of the Issuing Court’s ruling and that Defendants
14 would have no choice but to file a Motion to Compel in the event complete
15 responses to the subpoena were not received.10                       However, on March 25, 2021,
16 counsel for MedPort sent correspondence to the undersigned advising that
17 MedPort was refusing to produce the requested documents, completely ignoring
18 the ruling from the Issuing Court.11
19            Meanwhile, discovery in the underlying case closes on June 30, 2021.12
20 With discovery set to close within a month, Defendants have no choice except to
21 file this emergency motion to ensure Medport’s compliance with their subpoena.
22
23            6
                        See Exhibit 4, Affidavit of Service.
24            7
                   See Exhibit 5, correspondence from Medport to undersigned counsel dated February 24,
     2021 and Exhibit 6, documents produced by Medport bates numbers MED000001 – MED000339.
25            8
                        See Exhibit 7, Memorandum Order by Issuing Court dated March 11, 2021.
26            9
                        Id.
              10
                        See Exhibit 8, correspondence to Medport from undersigned counsel dated March 16, 2021
27            11
                        See Exhibit 9, correspondence from MedPort to undersigned counsel dated March 25, 2021.
28            12
                        See Exhibit 10, Amended Scheduling Order dated, March 15, 2021.
                                                               7

     3354.714 4845-3598-6410.1
        Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 8 of 23



1 II.         ARGUMENT
2             A.        THIS COURT SHOULD COMPEL MEDPORT TO PRODUCE THE WITHHELD
3                       DOCUMENTS BECAUSE THOSE DOCUMENTS ARE RELEVANT AND
                        PROPORTIONAL TO THE NEEDS OF THE UNDERLYING CASE.
4
              Medport fails to justify its refusal to produce the Withheld Documents in
5
     response to Defendants’ subpoena. Under Fed. R. Civ. P. 45, “a party may serve
6
     a subpoena commanding a nonparty to attend and give testimony and to produce
7
     documents.”13 When the nonparty resists the subpoena, the party issuing the
8
     subpoena may move ‘‘the court for the district where compliance is required
9
     for an order compelling production or inspection.”14 The party resisting the
10
     subpoena bears the burden of showing why the discovery sought should be
11
     denied.15 For example, the objecting party must set forth the reasons why the
12
     information sought is irrelevant or otherwise protected from production.16                        If
13
     “relevancy is not readily apparent[,] ... the party seeking discovery has the burden
14
     to show the relevancy of the request.”17
15
              “The scope of discovery allowed under Rule 45 is the same as allowed
16
     under Rule 26.”18 Under Fed. R. Civ. P. 26(b)(l), a party:
17
                        may obtain discovery regarding any nonprivileged matter
18                      that is relevant to any party’s claim or defense and
                        proportional to the needs of the case, considering the
19                      importance of the issues at stake in the action, the amount
                        in controversy, the parties’ relative access to relevant
20                      information, the parties’ resources, the importance of the
                        discovery in resolving the issues, and whether the burden
21                      or expense of the proposed discovery outweighs its likely
                        benefit. Information within this scope of discovery need
22
23            13
                    Nguyen v. Lotus By Johnny Dung Inc., No. SACV1701317NSJDEX, 2019 WL 4570032, at
24   *3 (C.D. Cal. Apr. 12, 2019) (citing Fed. R. Civ. P. 45(a)).
              14
                        Fed. R. Civ. P. 45(d)(2)(B)(i).
25            15
                        See, e.g., F.T.C. v. AMG Services, Inc., 291 F.R.D. 544, 553 (D. Nev. 2013).
26            16
                        Id.
27            17
                     McCall v. State Farm Mut. Auto. Ins. Co., No. 2:16-CV-01058-JADGWF, 2017 WL
     3174914, at *6 (D. Nev. July 26, 2017).
28            18
                        Nguyen, 2019 WL 4570032, at *3 (citations omitted).
                                                            8

     3354.714 4845-3598-6410.1
        Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 9 of 23



 1                      not be admissible in evidence to be discoverable.19
 2            Courts construe relevancy “liberally and with common sense” and allow
 3 discovery “unless the information sought has no conceivable bearing on the
         20
 4 case.” For non-party discovery, courts are “sensitive to weighing the probative
 5 value of the information sought against the burden of the production on the
             21
 6 nonparty.” With these principles in mind, the documents sought in this case
 7 relative to the payment of each Plaintiff’s medical expenses are (1) non-privileged,
 8 (2) relevant to the defenses asserted in the underlying case, and (3) are within the
 9 applicable proportionality limits as set forth in Fed. R. Civ. P. 26(b)(1).
10                      1.       THE WITHHELD DOCUMENTS ARE RELEVANT TO THE ISSUES OF
                                 CAUSATION, DAMAGES, BIAS, AND CREDIBILITY IN THE
11                               UNDERLYING CASE.

12            In a recent decision rendered by the Louisiana Supreme Court, Simmons
                                   22
13 v. Cornerstone Investments, LLC, the court determined whether the full amount
14 of plaintiff’s medical expenses that were billed but not paid should be allowed into
15 evidence at trial.             In considering the issue, the court recognized that “[t]he
16 collateral source rule exists to prevent the tortfeasor from benefiting from the
                                                        23
17 victim’s receipt of monies from independent sources.” The Court further
18 recognized that “it is clear the collateral source rule is tethered to payments actually
                               24
19 received by the plaintiff.”
20            Although Simmons involved payment of medical expenses by a worker’s
21 compensation insurer, the Louisiana Supreme Court analyzed applicability of the
22 collateral source rule in a broader context. In particular, the court considered a 2015
23
24            19
                        Fed. R. Civ. P. 26(b)(l).
              20
                        Nguyen, 2019 WL 4570032, at *3 (citations omitted).
25            21
                        Id. (citation omitted).
26            22
                        2018-0735 (La. 5/8/19), 2019 WL 2041377.
27            23
                     Id. at p. 6 (citing Cutsinger v. Redfern, 08-2607 at p. 13 (La. 5/22/09), 12 So.3d 945, 954)
     (emphasis in original).
28            24
                        Id. At p. 6-7 (emphasis in original).
                                                                9

     3354.714 4845-3598-6410.1
       Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 10 of 23



 1 Louisiana Supreme Court decision, Hoffman v. 21st Century North American
 2 Insurance Co.,25 in determining whether the collateral source rule applies to attorney-
 3 negotiated medical discounts.26 In Hoffman, the Louisiana Supreme Court cited several
 4 reasons for not applying the collateral source rule. The court stated that “[it] ...
 5 decline[s] to extend the collateral source rule to attorney-negotiated medical discounts
 6 obtained through the litigation process. [It] ... holds that such a discount is not a
 7 payment or benefit that falls within the ambit of the collateral source rule.”27 The court
 8 further stated “allowing the plaintiff to recover an amount which he has not paid, and
 9 for which he has no obligation to pay, is at cross purposes with the basis principles
10 of tort recovery in our Civil Code.”28                       Further, ‘‘the plaintiff has suffered no
11 diminution of his patrimony to obtain the write-off, and, therefore, the defendant in
12 this case cannot be held responsible for any medical bills or services the plaintiff did
13 not actually incur and which the plaintiff need not repay.”29
14            The Louisiana Supreme Court further acknowledged in Simmons that the
15 amount of medical expenses that are “written off’ by a provider is a “phantom charge
16 that [p]laintiff has not ever paid nor one he will ever be obligated to pay.”30
17 Consequently, and whether payments are made by a worker’s compensation insurer or
18 through an attorney-negotiated medical discount, a plaintiff’s patrimony is not
19 diminished in any way, particularly when he did not incur these fictional expenses.31
20            The Louisiana Supreme Court in Simmons further acknowledged “if
21 [p]laintiff prevails on the merits, a recovery of the reduced amount of medical bills
22 will make him whole, which is an important consideration of both tort recovery
23
              25
                        14-2279 (La. 10/2/15), 209 So.3d 702.
24            26
                        Id. at p. 4-5.
25            27
                        Id.
26            28
                        Id.
              29
                        Id.
27            30
                        Simmons, 2018-0735 (La. 5/8/19), 2019 WL 2041377 at p. 7.
28            31
                        Id.
                                                           10

     3354.714 4845-3598-6410.1
       Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 11 of 23



 1 and the application of the collateral source rule.”32              It further recognized the
 2 important rule of tort deterrence within its tort system and stated “to stretch the
 3 argument to include the award of un-incurred medical expenses, in addition to those
 4 actually paid, is to effectively authorize the assessment of punitive damages in the
 5 absence of statutory authority.”33 Therefore, the court found there was “no true
 6 deterrent effect to allowing plaintiff to recover expenses over and above what was
 7 actually paid.”34 In conclusion, the Louisiana Supreme Court in Simmons noted
 8            (b)       [t]here is no basis to differentiate between the “written
                        off’ amount created by a reduced reimbursement fee
 9
                        under the Workers’ Compensation Act and those of a
10                      Medicaid Program or an attorney-negotiated medical
                        discount. The bottom line is that the Plaintiff’s in each of
11
                        these situations did not actually incur, and need not
12                      repay, the ‘written off’ amounts at issue. Such amounts
                        are illusory in that they are never statutorily susceptible
13
                        of being paid by the Plaintiff’s. In the instant case,
14                      [p]laintiff did not contribute to his employer’s workers’
                        compensation insurance premiums nor did he otherwise
15
                        pay any consideration for the benefits. ... This reduction
16                      is not the benefit of some bargain struck by plaintiff ….
17                      Therefore, any recovery in addition to the reduced
                        amount of medical bills would be a windfall to [p]laintiff
18                      and against the rationale behind the collateral source
19                      rule. The discounted rate accurately reflects [p]laintiff’s
                        compensatory damages, and anything beyond that rate
20                      would amount to punitive damages. Accordingly, [the
21                      court] find[s] the collateral source rule does not apply in
                        the lower’s courts’ rulings on the motions in limine are
22                      affirmed.35
23 ///
24 ///
25
26            32
                        Id. at p. 8.
              33
                        Id. at p. 9.
27            34
                        Id.
28            35
                        Id. at p. 9-10.
                                                    11

     3354.714 4845-3598-6410.1
       Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 12 of 23



 1            In Deperrodil v. Bozovic Marine, Inc.,36 the court considered whether a plaintiff
 2 could recover the inflated amount charged for medical treatment he received compared
 3 to the amount paid under the Longshore & Harbor Worker’s Compensation Act. The
 4 court held that the LHWCA medical-expense payments “are collateral to a third-party
 5 tortfeasor only to the extent paid.”37 The U.S. Fifth Circuit in Deperrodil further stated
 6 “in other words, under those circumstances, plaintiff may not recover for expenses
 7 billed but not paid.”38
 8            In Williams v. IQS Ins. Risk Retention,39 Judge Jay Zainey of the United States
 9 District Court for the Eastern District of Louisiana addressed potential application of
10 the collateral source rule to medical financing through a litigation funding company.
11 Judge Zainey explained the critical issue as it applied to the facts of the case as follows:
12                      (c)    The real point of contention insofar as the damages
                        aspect of the collateral source rule is concerned is
13
                        whether [p]laintiffs can recover the difference between
14                      what the treating physicians billed for their services and
                        the amounts that the physicians accepted as full payment
15
                        for their services to Plaintiff’s. Plaintiff’s’ medical bills
16                      were paid by a financing company that has contracts
                        with medical providers who treat personal injury
17
                        Plaintiff’s. Plaintiff’s’ counsel contracted with the
18                      financing company, which has been promised payment
                        of the providers “full billed rate.” The provider, on the
19
                        other hand, is paid 40% of the “full billed charges.” So
20                      for example, if the physician’s full billed rate for
21                      treatment was $100,000, he received at most $40,000 in
                        full satisfaction of his bill, and the remaining $60,000
22                      (hereinafter referred to as “the Difference”) is owed by
23                      [p]laintiffs’ counsel to the finance company.
                        Significantly, Plaintiff’s themselves were not parties to
24                      any of these agreements, and while they would have
25
26            36
                        842 F.3d 352 (5th Cir. 2016).
              37
                        Id. at 361 (emphasis added).
27            38
                        Id.
28            39
                        No. CV 18-2472 WL 937848 (E.D. La. Feb. 26, 2019).
                                                         12

     3354.714 4845-3598-6410.1
       Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 13 of 23



1                       presumably agreed vis a vis their attorney that the
                        Difference must come out of their recovery as a cost of
2
                        the litigation, no suggestion has been made that
3                       [p]laintiffs themselves agreed to be responsible to anyone
                        for any medical bills or for the Difference should their
4
                        recovery at trial fall short.40
5
              Based on the above analysis, Judge Zainey held that the collateral source did not
6
     apply to the difference between the charged amount of Plaintiff’s’ medical expenses
7
     and the actual payments of those bills by third-party funding companies, stating as
8
     follows:
9
                        In this case, [p]laintiffs cannot establish that they paid any
10                      benefit or suffered any diminution in their patrimony in
                        order to obtain the discounted medical payments. The
11                      discounts were obtained via a series of contractual
                        agreements that apparently triggered no obligations on
12                      Plaintiff’s’ part. Again, the Court assumes that Plaintiff’s
                        have agreed vis a vis their attorney that the Difference must
13                      come out of their recovery as a cost of the litigation, but in
                        Hoffman the Supreme Court rejected the argument that this
14                      contractual obligation constitutes the type of payment or
                        diminution in patrimony necessary to recover undiscounted
15                      medical expenses that were never incurred. Hoffman, 209
                        So.3d at 707. The collateral source rule does not apply to
16                      the Difference so as to allow41 Plaintiff’s to recover it as an
                        element of special damages.
17
              Considering the above, identification of the specific parties to the financing
18
     agreements and the contractual obligation of those parties was critical to Judge
19
     Zainey’s determination.           In Williams, there were separate agreements between
20
     Plaintiff’s counsel and the financing company and between the financing company
21
     and the medical providers.            The respective obligations of the parties to those
22
     agreements had to be examined to determine if the Plaintiff’s patrimony was
23
     diminished. Consequently, production of the agreements and of the related payment
24
     information is critical to the defense of this matter.
25
26
27            40
                        Id. at *3.
28            41
                        Id.
                                                      13

     3354.714 4845-3598-6410.1
       Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 14 of 23



 1            Moreover, in Thomas v. Chambers,42 Judge Sarah Vance of the United States
 2 District Court for the Eastern District of Louisiana considered the admissibility of the
 3 third-party litigation funding agreement and activities as evidence of potential bias of
 4 the healthcare providers. Judge Vance found the Eleventh Circuit decision of ML
 5 Healthcare Services, LLC v. Publix Supermarkets, Inc.43 persuasive.                  In ML
 6 Healthcare Services, LLC, the Eleventh Circuit upheld admissibility of the third-party
 7 litigation funding agreement and activities as evidence of potential bias of the treating
 8 medical care providers, and their possible desire for additional and continued referrals
 9 of patients from the third-party litigation funding company. The court recognized that
10 for the third-party litigation funding companies’ business model to flourish, it needs
11 the Plaintiff’s whom it subsidizes to win their lawsuits.
12            In Thomas, Judge Vance considered the same issue and rendered the following
13 decision:
14                      The financial arrangement between Plaintiff’s’ healthcare
                        providers and the third-party funding companies could
15
                        create an incentive for Plaintiff’s’ treating physicians to
16                      want Plaintiff’s to win their case, because a victory could
17                      result in more referrals from TMC and Medport. That
                        incentive could lead a jury to question the treating
18                      physicians’ testimony regarding causation. This evidence
19                      is thus relevant under Rule 401 because it is probative of
                        whether a witness at trial is biased. The evidence is
20                      therefore admissible to impeach the credibility of
21                      Plaintiff’s’ treating physicians who testified.44
22            In Ortiviz v. Follin,45 the Court denied a motion to quash subpoena filed by
23 a medical financing company which the plaintiff contracted with to pay for his
24 medical treatment. In Ortiviz, the court held that
25
26            42
                        2:18-CV-04373-SSV-KWR (E.L. La. 4/26/19).
              43
                        881 F.3d 1293 (11th Cir. 2018).
27            44
                        Thomas, 2:18-CV-04373-SSV-KWR (E.L. La. 4/26/19).
28            45
                        No. 16-CV-02559-MSK-MEH, 2017 WL 3085515 (D. Colo July 2017).
                                                          14

     3354.714 4845-3598-6410.1
       Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 15 of 23



 1                      ... there is at least a fair basis for a holding Marrick is not
                        a collateral source. Importantly, unlike an insurance
 2                      carrier, Marrick did not compensate or indemnify Mr.
                        Ortiviz. Because the amount Marrick paid Mr. Ortiviz’s
 3                      medical providers may be admissible, it would be
                        improper to deny National Freight the benefit of
 4                      discovery on these grounds. After having an opportunity
                        to view the evidence, the District Court will decide at the
 5                      appropriate time whether the amount paid is admissible
                        under the collateral source rule. Accordingly, the Court
 6                      refuses to46apply the collateral source rule to quash the
                        subpoena.
 7
 8            In Bramlett v. YRC, Inc.,47 the Court granted a motion to compel discovery

 9 from a third-party litigation financing company, finding “the collateral source rule
10 is not a bar to the requested discovery because it is relevant to and admissible for
11 the purpose of attacking the credibility of Plaintiff’s’ physicians.” It is also
12 “relevant for the jury to consider in determining the reasonable value of medical
                       48
13 services provided.”
14       Most recently, in Collins v. Benton,49 the United States District Court for the

15 Eastern District of Louisiana held that the exact documents sought by Defendants
16 in the instant case from Medport (i.e., purchase agreements and payments Medport
17 made to Plaintiff’s medical providers) was “relevant to a determination of the
18 appropriate damages award if the jury concludes that the medical expenses were
19 incurred in bad faith.” In Collins, the court further held that “the financial
20 arrangement between Plaintiff’s healthcare providers and Medport are admissible
21 for the purpose of impeaching the credibility of Plaintiff’s healthcare providers
                          50
22 who testify at trial.”
23            Considering the principles discussed above, a complete response from

24
25            46
              47
                        Id. at *4.
                        No. l:16-CV-3870-ODE, 2017 WL 3000042, at *l (N.D. Ga. Jan. 24, 2017).
26            48
                  Bramlett, at *1 (citing Houston v. Publix Supermkts., Inc., No. 1:13-CV-206-TWT, 2015
     WL 4581541 (N.D. Ga. July 29, 2015).
27            49
                        No. CV 18-7465, 2021 WL 638116, at *8 (E.D. La. Feb. 17, 2021).
28            50
                        Collins v. Benton, No. CV 18-7465, 2021 WL 638116, at *8 (E.D. La. Feb. 17, 2021)
                                                          15

     3354.714 4845-3598-6410.1
       Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 16 of 23



 1 MedPort to the subpoena is necessary to Defendants’ defense against Plaintiff’s
 2 claims in the underlying case. Moreover, the documentation and information
 3 sought from MedPort is not privileged and is relevant to the salient issues involved
 4 in this matter including Plaintiff’s alleged damages, causation, bias, and
 5 credibility. Defendants submit that they will be prejudiced in their defense of this
 6 matter if MedPort is not compelled to fully respond to the subpoena. Moreover,
 7 time is of the essence of this matter, as discovery is scheduled to close on June 30,
 8 2021.
 9                     2.        MEDPORT CANNOT SATISFY ITS BURDEN OF PROOF
10            Additionally, Medport cannot satisfy its burden of showing that discovery
11 should not be allowed in this instance. As the party resisting discovery, Medport
12 has the burden to demonstrate “that its objections [to the subpoena] should be
13 sustained.”51 This requires Medport to “clarify[], explain[], and support[] its
14 objections” to the subpoena.52 But Medport has failed to do so.
15            In refusing to produce the requested documents, Medport has asserted
16 boilerplate objections to Defendants’ subpoena. Its objections to Defendants’
17 subpoena states that the requested documents are “not relevant nor proportional to
18 the needs of this case” ... and seeks “information that is confidential, proprietary,
19 and/or trade secret.”53 The objections primarily state that the requested
20 documents are protected from disclosure as they contain private, confidential,
21 proprietary and/or trade secret information, and do not contain any relevant or
22 admissible information.54 Yet, Medport has provided no evidence, explanation, or
23 argument showing why the subpoena sought irrelevant or confidential proprietary, and
24
25            51
                    W Pac. Kraft, Inc. v. Duro Bag Mfg. Co., No. NO. CV 10-6017 DDP (SS), 2012 WL
26   12884045, at *2 (C.D. Cal. Aug. 27, 2012).
              52
                        DIRECTV, Inc. v. Trone, 209 F.R.D. 455, 458 (C.D. Cal. 2002).
27            53
                        See Exhibit 6, at MED000011 - MED000013.
28            54
                        Id.
                                                          16

     3354.714 4845-3598-6410.1
       Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 17 of 23



 1 trade secret information. As such, there is nothing for this Court to evaluate the merits
 2 of those objections.
 3            Medport’s “boilerplate objections to the subpoena are insufficient to meet [its]
 4 ... burden of showing that the discovery should not be allowed.”55                             “[G]eneral or
 5 boilerplate objections such as ‘overly burdensome and harassing’ are improper-
 6 especially when a party fails to submit any evidentiary declarations supporting such
 7 objections.”56            “Where, as here, the responding party provides a boilerplate or
 8 generalized objection, the ‘objections are inadequate and tantamount to not making
 9 any objection at all.”‘57 Based on the boilerplate objections, Medport has waived its
10 objections to the subpoena, and this Court should compel production of the Withheld
11 Documents.58
12            Ultimately, all of Medport’s objections fail on their merit. With respect to
13 Medport’s objection regarding the relevance and proportionality of Defendants’
14 request, there is no evidence to support this. Defendants have explained in detail the
15 relevance and proportionality of the requests above. As such, this Court should
16 therefore overrule Medport’s objections.
17            Again, Medport does not explain what information is confidential or how it
18 has maintained the confidentiality of the information. There is also nothing to
19 suggest the existence of any confidentiality provision in any of the agreements
20 requested under Defendants’ subpoena that would subject the providers to the
21 same confidentiality.               There is no evidence or authority cited in Medport’s
22 objection to substantiate any protected information.                            Medport’s “conclusory
23
24            55
                        Cf Nguyen, 2019 WL 4570032, at *4.
25            56
                        E.g., A. Farber & Partners, Inc. v. Garber, 234 F.R.D. 186, 188 (C.D. Cal. 2006).
26            57
                     Makaeff v. Trump Univ., LLC, No. 10-CV-0940-GPC WVG, 2013 WL 990918, at *6 (S.D.
     Cal. Mar. 12, 2013) (citations omitted).
27            58
                      Cf Nguyen, 2019 WL 4570032, at *4 (overruling boilerplate, conclusory objections to
     subpoena); Jang v. Sagicor Life Ins. Co., No. EDCV171563JGBKKX, 2019 WL 988690, at *3 (C.D. Cal.
28   Jan. 25, 2019) (same).
                                                           17

     3354.714 4845-3598-6410.1
       Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 18 of 23



 1 allegations that Defendant[s’] subpoenas seek “private, confidential, and trade
 2 secrets information” is wholly insufficient to meet the standard.59
 3            Notwithstanding the deficient objections, this Court can issue a protective order
 4 that would protect Medport’s purported privacy concerns. Courts have approved use
 5 of protective orders to alleviate concerns over prejudice from disclosure of confidential
 6 information.60 There is no reason why a protective order limiting the use of the
 7 requested documents to Defendants and their attorneys and experts in this case would
 8 be inadequate. Therefore, this Court should overrule Medport’s objections.
 9            Meanwhile, although Medport also claims privacy concerns, it has already
10 disclosed Plaintiff’s protected health information as part of its response to Defendants’
11 subpoena. Therefore, there is no genuine concern over privacy. In any event, there is
12 no reason why a carefully drafted protective order cannot alleviate any concerns over
13 privacy. Therefore, this Court should overrule this objection.
14            B.        ALTERNATIVELY, THIS COURT SHOULD TRANSFER THIS MOTION TO THE
15                      ISSUING COURT FOR A DECISION.
16            Alternatively, this Court should transfer Defendants’ motion to compel to
17 the Issuing Court. Fed. R. Civ. P. 45(f) allows this Court to transfer subpoena-
18 related motions to the court that issued the subpoena. Transfer is appropriate “if
19 the person subject to the subpoena consents or if the court finds exceptional
20 circumstances.”61 Here, Medport has not consented to the transfer of Defendants’
21 motion to the Issuing Court. But, there are exceptional circumstances to support
22 the transfer of the enforcement of the subpoena to the Issuing Court.
23            “The party seeking a [Fed. R. Civ. P.] ... 45(f) transfer bears the burden
24
25
26            59
                     Cf. Nguyen, 2019 WL 4570032, at *4-5 (overruling objection to subpoena on confidentiality
     grounds due to absence of any supporting evident and authority).
27            60
                        See, e.g., Soto v. City of Concord, 162 F.R.D. 603, 616 (N.D. Cal. 1995).
28            61
                        Fed. R. Civ. P. 45(f).
                                                            18

     3354.714 4845-3598-6410.1
       Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 19 of 23



 1 of showing that exceptional circumstances are present.”62 Fed. R. Civ. P. “45
 2 itself does not expound on what constitutes ‘exceptional circumstances ….”‘63 But
 3 courts have applied a “balancing test” of the particular facts of a case in
 4 determining whether a Fed. R. Civ. P. 45(f) transfer is appropriate.64 “On one
 5 hand, the court considers the burden on the party responding to the subpoena in
 6 the event of a transfer, and on the other hand, the court considers factors such
 7 as judicial economy, docket management, and the risk of inconsistent rulings.”65
 8            “[T]he Advisory Committee Notes [for Fed. R. Civ. P. 45(f)] state that
 9 ‘transfer may be warranted in order to avoid disrupting the issuing court’s
10 management of the underlying litigation, as when the court has already ruled on
11 issues presented by the motion or the same issues are likely to arise in discovery
12 in many districts,’ so long as those interests outweigh the interests of the
13 subpoenaed party in obtaining local resolution of the motion.”66 Courts have found
14 that this balance favored a transfer when the Issuing Court “has already supervised
15 substantial discovery and begun preparations for trial” and therefore has a strong
16 interest in maintaining oversight over all aspect of litigation.67 Additionally, the
17 interests of the subpoenaed party in obtaining a local resolution of the motion “carried
18 less force” when the subpoenaed party does business nationally.68 With these principle
19 in mind, the balance of the parties’ interests favor the transfer of this motion to the
20 Issuing Court.
21
              62
                    Obesity Research Inst., LLC v. Fiber Research Int’l, LLC, No. 216CV00061JADPAL, 2016
22   WL 593546, at *3 (D. Nev. Feb. 12, 2016).
23            63
                        Id.
              64
                        Id.
24            65
                        Id.
25            66
                        Id.
26            67
                      See, e.g., XY, LLC v. Trans Ova Genetics, L.C., 307 F.R.D. 10, 12 (D.D.C. 2014) (finding
     exceptional circumstances where issuing court” has already supervised substantial discovery and begun
27   preparations for trial”).
              68
                See, e.g., Id. (transferring subpoena-related motion where local party was national corporation”
28   and thus the presumption of local resolution, carried less force”).
                                                         19

     3354.714 4845-3598-6410.1
       Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 20 of 23



 1            The burden on Medport to litigate in Louisiana is minimal. As Medport’s
 2 website indicates, Medport does business throughout the United States. It has
 3 impliedly consented to jurisdiction in Louisiana. Medport does not dispute that it
 4 purchased Plaintiff’s’ medical bills from their medical providers in Louisiana.
 5 Medport has also purchased medical bills in Louisiana for other litigants unrelated to
 6 this case. Furthermore, the cost to travel is fairly minimal, as the Issuing Court requires
 7 electronic filings and may likely rule on this motion based solely on the briefs. Even
 8 if there is a hearing on this motion, the court may allow telephonic appearance at the
 9 hearing.69
10            Additionally, there is a greater interest to have the Issuing Court decide this
11 motion. With the underlying case nearing the end of discovery, the Issuing Court has
12 already supervised substantial discovery and ruled upon discovery motions dealing
13 with this identical issue. As noted above, the Issuing Court has already issued a ruling
14 concerning a Motion to Quash filed by one of Plaintiff’s medical providers in response
15 to a nearly identical subpoena requesting substantially the same type of documents.70
16 More importantly, the Issuing Court determined that the requested documents are
17 discoverable and ordered that they be produced.71 This ruling was also forwarded to
18 counsel for Medport, but surprisingly the Issuing Court’s decision was ignored and
19 Medport still refuses to produce the requested documents.
20            Not only to avoid an inconsistent decision on the issues raised in this motion,
21 the Issuing Court is in a better position than this Court to evaluate the relevance of,
22 and necessity for, documents demanded in the subpoena because the evaluation turns
23 on an interpretation of Louisiana law, not Nevada law. There can be no dispute that
24 the Issuing Court is more familiar with Louisiana law and the nuances of Louisiana’s
25
26            69
                    See Fed. R. Civ. P. 45 Advisory Comm. Notes (encouraging district judges to “permit
     telecommunications” in order to minimize travel costs after a Fed. R. Civ. P. 45(f) transfer).
27            70
                        See Exhibit 7, Memorandum Order by Issuing Court dated March 11, 2021.
28            71
                        Id.
                                                         20

     3354.714 4845-3598-6410.1
       Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 21 of 23



1 collateral source rule and its application to the underlying case. Thus, the balance of
2 interests strongly favors a transfer of this motion to the Issuing Court.
3 III.        CONCLUSION
4             Based on the reasons discussed above, this Court should order that Medport
5 produce all documents responsive to Defendants’ subpoena without further delay.
6 Alternatively, it should transfer the instant motion to the United States District Court
7 for the Western District of Louisiana for resolution.
8 Dated: May 19, 2021                       BREMER WHYTE BROWN & O’MEARA
                                            LLP
9
10
                                            By:
11                                                Lucian J. Greco, Jr., Esq.
                                                  Nevada State Bar No. 10600
12                                                Jared G. Christensen, Esq.
                                                  Nevada State Bar No. 11538
13                                                Attorneys for Defendants
                                                  MARCUS BROWN, SOUTHERN
14                                                REFRIGERATED TRANSPORT
                                                  INC., AND IQS INSURANCE
15                                                RISK RETENTION GROUP INC.
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              21

     3354.714 4845-3598-6410.1
       Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 22 of 23



1           INDEX OF EXHBITS TO DEFENDANTS’ MOTION TO COMPEL
          PRODUCTION OF DOCUMENTS RESPONSIVE TO SUBPOENA OR,
2          ALTERNATIVELY, MOTION TO TRANSFER ENFORCEMENT OF
                                 SUBPOENA
3
       EXHIBIT NO.                           DESCRIPTION OF EXHIBIT
4          1.                                 Defendants’ Notice of Removal
           2.                          Medport’s Website – medport.com/howitworks
5          3.                    Notice of Records Deposition and Subpoena Duces Tecum
                                                issued to Medport LA, LLC
6                 4.                  Affidavit of Service of Subpoena Duces Tecum
                  5.              Correspondence from Medport to Counsel for Defendants
7                                                 dated February 24, 2021
                  6.              Documents produced by MedPort in response to Subpoena
8                                 Duces Tecum, bates labeled MED000001 – MED000339.
                  7.             Memorandum Order by Issuing Court dated March 11, 2021.
9                 8.              Correspondence to Medport from Counsel for Defendants
                                                   dated March 16, 2021.
10                9.              Correspondence from Medport to Counsel for Defendants
                                                   dated March 25, 2021.
11               10.                 Amended Scheduling Order dated March 15, 2021.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                   22

     3354.714 4845-3598-6410.1
       Case 2:21-cv-00960-RFB-EJY Document 1 Filed 05/19/21 Page 23 of 23



1                                CERTIFICATE OF SERVICE
2             I hereby certify that on this 19th day of May 2021, a true and correct copy of
3 DEFENDANTS’ EMERGENCY MOTION TO COMPEL PRODUCTION OF
4 DOCUMENTS RESPONSIVE TO SUBPOENA OR, ALTERNATIVELY,
5 MOTION TO TRANSFER ENFORCEMENT OF SUBPOENA was served via
6 email and personal service upon all parties listed below:
7           Marisa Guarine Stearns, Esq.                     MedPort LA, LLC
         Legal Counsel for MedPort LA, LLC                 c/o Louis E. Garfinkel
8
            6325 S. Jones Blvd., Ste. 400             1671 W. Horizon Ridge Parkway,
9               Las Vegas, NV 89118                              Ste. 230
               marisa@movedocs.com                         Henderson, NV 89012
10
11
12
13
14
15
16                                                   Alexis Robinson, an employee of
17                                                   BREMER WHYTE BROWN &
                                                     O’MEARA, LLP
18
19
20
21
22
23
24
25
26
27
28
                                                23

     3354.714 4845-3598-6410.1
